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UNITED STATES COURT
DISTRICT OF MASSACHUSETTS

R. Messac,
Plaintiff, CIVIL ACTION NO.

Vs. EN SR 8 a Bee
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"  Q2-11883 RGS
ai th

Commonwealth of Massachusetts,
Department of Mental Retardation,
Walter FE, Fernald Developmental Center,

Gerald J. Morrissey, Jr., in his Official
Capacity as Commissioner, Department of
Mental Retardation, Commonwealth of
Massachusetts,

Martin J. Benison, in his Official Capacity
as Comptroller, Commonwealth of
Massachusetts,

if 2

Defendants.

FIRST AMENDED COMPLAINT
AS A MATTER OF COURSE AND DEMAND FOR TRIAL BY JURY

Now comes the Plaintiff, R. Messac, by her attorneys, and,
pursuant to Federal Rule of Civil Procedure 15(a), hereby files

her First Amended Complaint As A Matter Of Course and Demand for

Trial by Jury, respectfully Noting that no responsive pleading

within the meaning of Rule 15(a) has been filed with the Court,
nor has Judgment entered in this action. As a matter of law, all
prior Pleadings are deemed withdrawn upon the filing of the said

Amended Pleading. Wilson v. First Houston Investment Corp., 566

F.2d 1235, 1237-38 (5th.Cir.1978); 6 Wright & Miller, Federal

Practice and Procedure: Civil § 1476 (1971); Levitch v. Columbia

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UNITED STATES DISTRICT COURT Py Gril Aree tag
OF THE DISTRICT OF MASSACHUSETTS

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C.A.NO. 0211799 Kes 2! Po 2k

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DISTRICT GF TA

JOSE IBARRA HERRERA,
Plaintiff,

vs.

ROBERT MOLINO, DONALD MILLER,

CHARLES PERRY, PAUL BARATTA,

LYNDA NELSON, ANNE P. GLAVIN,

JOHN R. CURRY, AND

MASSACHUSETTS INSTITUTE OF TECHNOLOGY,
Defendant.

Ne Nee ee ee ee ee ee ee ee ee ee”

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT

FIRST DEFENSE
The Defendants hereby state that the Plaintiff's Complaint fails to state a cause of
action upon which relief can be granted.

SECOND DEFENSE

The Defendants respond to the allegations of the Plaintiffs Complaint and
Jury Demand as follows:
INTRODUCTION
1. The Defendants are without knowledge or information sufficient to form
a belief as to the truth of the allegations contained in this paragraph.
JURISDICTION
2. The allegations contained in this paragraph of plaintiff's complaint state a

conclusion of law to which the defendants need not respond.

PARTIES

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3. The Defendants are without knowledge or information sufficient to form
a belief as to the truth of the allegations contained in this paragraph.

4. The Defendants deny the allegations contained in this paragraph.

5. The Defendants deny the allegations contained in this paragraph.

6. The Defendants admit the allegations contained in this paragraph.

7. The Defendants admit that defendant John R. Curry was at all times
relevant the Executive Vice President of the Massachusetts Institute of Technology and
deny the remaining allegations contained in this paragraph.

8. The Defendants admit the allegations contained in this paragraph.
FACTS

8 (SIC) The Defendants are without knowledge or information sufficient to form
a belief as to the truth of the allegations contained in this paragraph.

9. The Defendants admit defendant Lynda Nelson informed campus police
and deny the remaining allegations contained in this paragraph.

10. The Defendants deny the allegations contained in this paragraph.

11. The Defendants deny the allegations contained in this paragraph.

12. The Defendants are without knowledge or information sufficient to form
a belief as to the truth of the allegations contained in this paragraph.

13. The Defendants admit that the named officers were at the time on duty
and in uniform and deny the remaining allegations contained in this paragraph.

14. The Defendants are without knowledge or information sufficient to form
a belief as to the truth of the allegations contained in this paragraph.

15. The Defendants deny the allegations contained in this paragraph.

16. The Defendants deny the allegations contained in this paragraph.

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17. The Defendants are without knowledge or information sufficient to form
a belief as to the truth of the allegations contained in this paragraph.

18. The Defendants deny the allegations contained in this paragraph.

19. The Defendants are without knowledge or information sufficient to form
a belief as to the truth of the allegations contained in this paragraph.

20. The Defendants are without knowledge or information sufficient to form
a belief as to the truth of the allegations contained in this paragraph.

21. The Defendants are without knowledge or information sufficient to form
a belief as to the truth of the allegations contained in this paragraph.

22. The Defendants deny the allegations contained in this paragraph.

23. The Defendants deny the allegations contained in this paragraph.

24. The Defendants deny the allegations contained in this paragraph.

25. The Defendants deny the allegations contained in this paragraph.

26. The Defendants deny the allegations contained in this paragraph.

27. The Defendants deny the allegations contained in this paragraph.

28. The Defendants deny the allegations contained in this paragraph.

29. The Defendants deny the allegations contained in this paragraph.
COUNT ONE: 42 U.S.C. § 1983

30. The Defendants repeat and reallege their responses to Paragraphs 1
through 29.

31. The Defendants deny the allegations contained in this paragraph.

31(SIC)The Defendants deny the allegations contained in this paragraph.

32. The Defendants deny the allegations contained in this paragraph.

33. The Defendants deny the allegations contained in this paragraph.

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COUNT TWO: M.G.L. CH. 12, § 111

34, The Defendants repeat and reallege their responses to Paragraphs 1
through 33.

35. The Defendants deny the allegations contained in this paragraph.

36. The Defendants deny the allegations contained in this paragraph.

37. The Defendants deny the allegations contained in this paragraph.
COUNT THREE: ASSAULT AND BATTERY

38. The Defendants repeat and reallege their responses to Paragraphs 1
through 37.

39. The Defendants deny the allegations contained in this paragraph.

40. The Defendants deny the allegations contained in this paragraph.

41. The Defendants deny the allegations contained in this paragraph.

42. The Defendants deny the allegations contained in this paragraph.
COUNT FOUR: FALSE IMPRISONMENT

43. The Defendants repeat and reallege their responses to Paragraphs 1
through 44.

44. The Defendants deny the allegations contained in this paragraph.

45. The Defendants deny the allegations contained in this paragraph.

46. The Defendants deny the allegations contained in this paragraph.

47. The Defendants deny the allegations contained in this paragraph.
COUNT FIVE: MALICIOUS PROSECUTION

48. The Defendants repeat and reallege their responses to Paragraphs 1

through 47.

49. The Defendants deny the allegations contained in this paragraph.

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50. The Defendants deny the allegations contained in this paragraph.

51. The Defendants deny the allegations contained in this paragraph.

52. The Defendants deny the allegations contained in this paragraph.

WHEREFORE, the defendants deny that the plaintiff is entitled to judgment in
any amount against the defendants and, furthermore, the defense asks this Honorable
Court to enter judgment for the defendants and against the plaintiff along with
interests, costs and attorneys fees.

AFFIRMATIVE DEFENSES

THIRD DEFENSE

The plaintiff's claims are barred or limited by contributory negligence.

FOURTH DEFENSE

The plaintiff's claims are barred or limited by comparative negligence.

FIFTH DEFENSE

The plaintiff failed to give adequate notice of his/her claim as required by the
Massachusetts Tort Claims Act.
SIXTH DEFENSE

The plaintiff failed to give timely notice of his claim as required by the
Massachusetts Tort Claims Act.
SEVENTH DEFENSE

The plaintiff’s claims are barred or limited by the provisions of the Massachusetts
Tort Claims Act.
EIGHTH DEFENSE

There was probable cause for the plaintiff's alleged arrest /detainment.

NINTH DEFENSE

Defendants state that they were justified in their acts or conduct and that
therefore the plaintiff cannot recover.

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TENTH DEFENSE

Defendants state that his acts and conduct were performed according to, and
protected by, law and/or legal process, and that therefore, the plaintiff cannot recover.

ELEVENTH DEFENSE

Defendants state that their actions are immune from suit as they were engaging
in discretionary functions.

TWELVE DEFENSE

Defendants state that they were privileged in their conduct and acts and that
therefore the plaintiff cannot recover.

THIRTEENTH DEFENSE

The individual defendants are entitled to qualified immunity.

JURY DEMAND

The defendants request a Trial By Jury on all counts and causes of action to the
fullest extent permitted by law.

The defendants,
By their attorneys,

Léonard Kesten, BBO# 542042

Andrea W. McCarthy, BBO# 562206
BRODY, HARDOON, PERKINS & KESTEN
One Exeter Plaza

Boston, MA 02116

(617) 880-7100

Dated: jO/2l Uo-

CERTIFICATE OF SERVICE

| hereby osriily that a true capy of the above document
ee each other

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NUMBER 02-11291-RGS
KELLY SAINT FORT
Vv.
JOHN ASHCROFT, ET AL.

MEMORANDUM AND ORDER ON RESPONDENTS’
MOTION FOR RECONSIDERATION

October 29, 2002
STEARNS, DJ. >
| am persuaded by the Respondents’ jurisdictional argument (raised for the first time
in the instant motion) that the district court lacks subject matter jurisdiction to hear a private
claim asserting the protections of the Convention Against Torture and Other Cruel,
Inhuman or Degrading Treatment or Punishment, as the treaty, although ratified by the

United States, is not self-executing. See Igartua De La Rosa v. United States, 32 F.3d 8,

10 n.1 (1st Cir. 1994). As | understand Petitioner's response, he does not dispute the
substance of the Respondents’ jurisdictional argument, but maintains his objection to the
same procedural shortcoming in the Board of Immigration Appeals’ (BIA) handling of his
case (the failure of the BIA to specify the factual grounds on which it rejected the
Immigration Judge’s finding that the Petitioner would more likely than not face torture if he
were to be returned to Haiti) that caused this court in the first instance to order a remand
to the BIA for clarification. The court did not, as Petitioner now maintains, adopt his

argument that the BIA had retroactively and unconstitutionally applied its decision in In Re

J-E-, 23 1. & N. Dec. 291 (BIA 2002) to his case. The court specifically held in its

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September, 30, 2002 Memorandum of Decision that Saint Fort’s case did not implicate the
doctrine of retroactivity. An alleged procedural defect of the kind asserted by Saint Fort
does not raise a constitutional claim or a “pure issue of law” sufficient to surmount the
jurisdictional bar interposed by the Foreign Affairs Reform and Restructuring Act of 1998,

§ 2242(d). Compare Goncalves v. Reno, 144 F3d 110, 133 (1st Cir. 1998). Relief, if any

is to be had, is in the Court of Appeals in conjunction with a review of a final order of
removal. 8 U.S.C. §§ 1252(a), (b) (9). Consequently, the motion to reconsider is
ALLOWED and the Petition is ordered DISMISSED. The bar against removal of the
Petitioner will be extended by ten (10) days to permit the Petitioner to seek relief, if any is
available, in the Court of Appeals.

SO ORDERED.

UNITED STATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 01-CV- 10927- RGS

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CONSERVATION LAW FOUNDATION, et al

aE Se Me

V.

UNITED STATES DEPARTMENT OF COMMERCE,
NATIONAL OCEANIC AND ATMOSPHERIC ADMINISTRATION,
NATIONAL MARINE FISHERIES SERVICES,
and INTERVENOR FISHERIES SURVIVAL FUND’

MEMORANDUM AND ORDER ON CROSS-
MOTIONS FOR SUMMARY JUDGMENT

October 31, 2002
STEARNS, D.J.

On May 31, 2001, Oceana, Inc. (f/k/a the Conservation Law Foundation), brought
this Complaint objecting to the May 2001 adoption by the National Marine Fisheries Service
(NMFS) of Framework Adjustment 14 (Framework 14) to the Atlantic Sea Scallop Fishery

2

Management Plan (Scallop Plan).* Framework 14 regulates scalloping in Atlantic coastal

waters during the 2001 and 2002 fishing seasons.* While the dispute is framed largely

‘On September 10, 2001, the court allowed the motion by the Fisheries Survival Fund
to intervene as a defendant.

“The Magnuson-Stevens Fishery Conservation and Management Act of 1976, 16
U.S.C. §§ 1801-1883, as subsequently amended by Congress in 1990 and 1996,
delegates to the NMFS, by and through the Secretary of Commerce, the authority to
manage and conserve U.S. coastal fisheries. The authority of the Secretary is shared with
eight Regional Fishery Management Councils who are responsible for the development of
Fishery Management Plans like the Scallop Plan. A fuller description of the workings of
the Act can be found in A.M.L. International v. Daley, 107 F. Supp. 2d 90, 93 (D. Mass.
2000).

°Scallops are bottom-dwelling mollusks that are typically fished by dredging, a technique
that is often destructive to the seabed. Hence, the scalloping industry has been a focus

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around an alleged procedural lapse by the NMFS, plaintiffs’ ultimate goal is an injunctive

order barring scallopers from the Great South Channel? “

in order to protect the groundfish
habitat and minimize groundfish bycatch.” In promulgating Framework 14, the Secretary
of Commerce (Secretary) declined to expand the scope of his prior closure orders.”

Despite the many pages of briefing this case has generated, plaintiffs’ procedural
argument rests on the claim that Framework 14 was unlawfully implemented because the
Secretary failed to provide the minimum15 days for public comment required by section
304(b)(1)(A) of the Magnuson-Stevens Act, 16 U.S.C. § 1854(b)(1)(A). This section
provides that:

(1) Upon transmittal by the Council to the Secretary of proposed regulations

prepared under section 1853(c) of this title, the Secretary shall immediately

initiate an evaluation of the proposed regulations to determine whether they

are consistent with the fishery management plan, plan amendment, this

chapter and other applicable law. Within 15 days of initiating such evaluation
the Secretary shall make a determination and —

of intense scrutiny by conservation groups.

“In their Complaint, plaintiffs argued that NMFS should have adopted Option 1 to the
Scallop Plan calling for the closure of the Southeast part of Georges Bank, the Great South
Channel, the New York Bright, and Delmarva. These four areas have gravel or sandy
bottoms particularly susceptible to damage from dredging. At oral argument, plaintiffs
scaled back the request for injunctive relief, seeking only the closing of the Great South
Channel. The Channel separates the western part of Georges Bank from the Nantucket
Shoals.

°On September 12, 2002, the court asked the parties to brief the issue of whether the
reopening of the amendment process by the Secretary had effectively mooted their dispute
over Framework 14. After reviewing the responsive submissions, | am satisfied that
plaintiffs’ challenge to Framework 14 remains justiciable. Framework 14 will expire on
February 28, 2003. Plaintiffs reasonably request an expedited decision on the pending
cross-motions for summary judgment in light of Gulf of Maine Fishermen's Alliance v.
Daley, 292 F.3d 84, 89-90 (1st Cir. 2002).

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(A) if that determination is affirmative, the Secretary shall publish such
regulations in the Federal Register, with such technical changes as may be
necessary for clarity and an explanation of those changes, for a public
comment period of 15 to 60 days; ...
Section 1853(c) requires that a Council submit for the Secretary’s review any proposed
regulation that it “deems necessary or appropriate” for “(1) implementing a fishery
management plan or plan amendment .. . [or] . . . (2) making modifications to regulations
implementing a fishery management plan or plan amendment . . . after the plan or
amendment is approved under section 1854 of this title.” A regulation is to be distinguished
from a framework adjustment. A framework adjustment is an administrative procedure

permitting “quick, efficient changes to [Fishery Management Plans] as the need arises.”®

Defendants’ Consolidated Memorandum, at 9-10. See Southern Offshore Fishing Ass'n v.

Daley, 995 F. Supp. 1411, 1419 (M.D. Fla. 1998). A framework adjustment is typically
implemented without the observance of the formalities of notice and public comment
mandated by section 1854(b)(1)(A). Framework 14 was so implemented after a finding by
the New England Regional Fishery Management Council that its publication as a proposed
regulation was neither “necessary [nor appropriate.” See 50 C.F.R. § 648.55(g)(1)&(2).
Consequently, Framework 14 was published as a final rule by the Secretary’s “action.”
NMES, relying on the literal wording of the statute, maintains that section
1854(b)(1)(A) mandates public comment only when a Regional Fishery Management
Council submits a “proposed regulation” pursuant to section 1853(c), and not when a

framework adjustment to a Fishery Management Plan is implemented by an “action taken

®The regulation setting out the abbreviated procedure for adopting a framework
adjustment to the Scallop Plan is codified at 50 C.F.R. § 648.55.

3

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by the Secretary,” as was the case with Framework 14. Whether the Secretary, despite
custom and practice, is required by section 1854(b)(1)(A) to publish any interim change to
a Fishery Management Plan as a “proposed regulation” is at the core of the parties’ dispute.

Plaintiffs’ argument on this score rests on the holding of National Resources Defense

Council v. Evans, 168 F. Supp. 2d 1149 (N.D. Cal. 2001) (NRDC), which in turn relied on

Tutein v. Daley, 43 F. Supp. 2d 113, 121 (D. Mass. 1999), for the proposition that there is

no statutorily meaningful distinction between a proposed regulation and an action taken by
the Secretary, at least insofar as the notice and public comment requirements of section
1854(b)(1)(A) are concerned.’ In reaching this conclusion, the NRDC court adopted
Tutein’s definition of a regulation as “a legally binding obligation having the force of law,”
and then reasoned that because an action taken by the Secretary is legally binding,
Congress must have meant the terms to serve as functional equivalents, at least for

purposes of section 1854(b)(1)(A).

"Plaintiffs also rely on the legislative history of § 1853(c) as support for the proposition
that the public comment period was intended to apply to framework adjustments. As stated
in the Senate Report:

[i]n recent years, Councils have increased their use of framework fisheries
management plans that rely on regulations to establish fishery parameters
like season opening and closures, catches, and allocations of harvest among
sectors of a fishery ... . [T]his subsection, along with changes made in
section 110 of the reported bill [later codified at 16 U.S.C. § 1854] would
establish streamlined procedures for consideration and approval of all
regulations submitted by a Council to the Secretary.

S. Rep. No. 104-276 at 18-19 (1996), reprinted in U.S.C.C.A.N. 4091. Legislative history
is not a preferred tool of construction when, as is the case here, the meaning of the words
of a statute are plain, while those of its authors are not. Cf. Estate of Cowart v. Nicklos
Drilling Co., 505 U.S. 469, 476 (1992).

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framework adjustment to a Fishery Management Plan is implemented by an “action taken
by the Secretary,” as was the case with Framework 14. Whether the Secretary, despite
custom and practice, is required by section 1854(b)(1)(A) to publish any interim change to
a Fishery Management Plan as a “proposed regulation’ is at the core of the parties’ dispute.

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is not a preferred tool of construction when, as is the case here, the meaning of the words
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The nod to Tutein, however, is somewhat misdirected. The issue in Tutein was
whether a non-binding advisory guideline issued under section 1851(b) of the Magnuson-
Stevens Act constituted a “regulation” subject to judicial review under section 1855(f). The
Magistrate Judge in Tutein, noting that the Act specifically states that an advisory guideline
“shall not have the force and effect of law,” quite sensibly concluded that an advisory
guideline was not a regulation and therefore not subject to judicial review. It does not follow
from this premise, however, that because Congress made all legally binding actions the
subject of judicial review, the word “regulation” as used in the Act also means “action.”

Section 1855(f) clearly recognizes that “actions taken by the Secretary” and
“regulations promulgated by the Secretary,” are distinct regulatory events, thus evincing
Congress’s understanding of and acquiescence in the difference.° Plaintiffs counter that
the distinction, while real, is besides the point as section 1855(f) is concerned with judicial
review and not with notice and comment. Plaintiffs point out that the NRDC court rejected
any argument based on the section 1855(f) distinction as taking “Congress’ express
language extending public and judicial oversight of agency action out of its context and
turn[ing] it against its very purpose.” NRDC, 168 F. Supp. 2d at 1155. The point

presumably is that because section 1855(f), as amended, expanded the scope of judicial

The syllogism is based on an apparent logical fallacy, i.e., all priests are men, George

Washington was a man, therefore George Washington was a priest. Simply because two
things share a defining characteristic, it does not follow that they are necessarily identical.

°The distinction found its way into the Act as a result of a 1990 amendment expanding
the scope of judicial review to include challenges to framework actions taken by the
Secretary and not simply challenges to regulations (as was the case prior to the
amendment). The public comment requirements of section 1854(b)(1)(A) were inserted
by a 1996 amendment to the Act.

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review, it reflects an overriding purpose of Congress to involve the public intensively in the
implementation of the Act. Consequently, using section 1855(f) as a blunt instrument to
insulate actions taken by the Secretary from public comment does violence to that very
purpose. While this may seem plausible, it presumes that Congress indeed had such an
overriding purpose. It would seem just as plausible that Congress may have thought public
comment a more useful check on a regulation proposed by a politically unaccountable
Council than on an action taken by a politically answerable Secretary. Congress may also
well have believed that there was some value in expediting the implementation of
adjustments to a Fishery Management Plan whose implementing regulations were already
in place, particularly in light of the vagaries inherent in managing a complex and volatile
ecosystem. Nonetheless, whatever Congress may have had in mind, the fact remains that
section 1855(f) draws a clear distinction between “[rjegulations promulgated by the
Secretary” and “actions that are taken by the Secretary [implementing] a fishery

management plan.” Under the rules of statutory construction, when Congress uses the
same word in separate sections of a statute to describe the same subject matter, the word
is presumed to have been used with the same meaning in each section. Thus, a regulation
for purposes of section 1854 is a regulation for purposes of section 1855(f), and not both

an action and a regulation for purposes of one section but not for purposes of the other.

If Congress had intended section 1854(b)(1)(A) to apply to actions as well as to proposed

regulations, it would have had no difficulty in saying so. It did not, and therefore the 15 day

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public comment period of section 1854(b)(1)(A) was not triggered by the Secretary’s action
in implementing Framework 14.'°

Plaintiffs’ substantive argument is that Framework 14 is flawed because the NMFS’s
refusal to order the closing of additional areas to fishing fails to “minimize to the extent
practicable adverse effects on. . . habitat,” as required by section 303(a)(7) of the
Magnuson-Stevens Act, 16 U.S.C. § 1853(a)(7), and fails to minimize bycatch as required
by National Standard 9, 16 U.S.C. § 1851(a)(9)."’ The key word, of course, is “practicable.”
The record amply demonstrates that habitat and bycatch were considered in formulating
Framework 14. As defendants point out, Framework 14 continues the prohibition on scallop
fishing in Georges Bank Closed Areas | and |] and the Nantucket Lightship Closed Area,
an area of some 5000 square nautical miles. Framework 14 also maintains restrictions on
days at sea, catch and mesh sizes, and seasonal access to sensitive areas. Plaintiffs’
criticism of Framework 14 is ultimately one of degree, and not kind. Thatis to say, plaintiffs
fault the NMFS for failing to give habitat protection and the reduction of bycatch the full
emphasis that plaintiffs believe they deserve, not that the NMFS failed to respond to the
statutory directives to the extent that it deemed practicable under the circumstances in

which Framework 14 was adopted.

Having found no violation of the public notice and comment provisions of section
1854(b)(1)(A), | also conclude that the adoption of Framework 14 did not violate the notice
and comment provisions of the Administrative Procedure Act (APA), 5 U.S.C. § 553(a)-(c).
| agree with defendants that the NMFS’s compliance with the abbreviated rulemaking
procedure set out in 50 C.F.R. § 648 constituted “good cause” within the meaning of 5
U.S.C. § 553(b)(B), for dispensing with a further period for public notice and comment.

"Defendants also argue, accurately | believe, that § 1853(a)(7) applies only to the
formulation of a Fishery Management Plan and not to framework adjustments to a plan
already in place.

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While the court, if it were writing on a blank slate, might adopt at least some of the
alternative measures that plaintiffs recommend, it is constrained by law from substituting its

judgment for that of the NMFS. See Association of Fisheries of Maine, Inc. v. Daley, 127

F.3d 104, 109 (1st Cir. 1997) (“[PJolicy choices are for the agency, not the court to make’).
Because the court cannot say that the adoption of Framework 14 lies outside “the bounds

of reasoned decision making,” it cannot characterize the Secretary's action as arbitrary or

capricious. M/V Cape Ann v. United States, 199 F.3d 61, 63-64 (1st Cir. 1999). Moreover,

contrary to plaintiffs’ assertions, there is no persuasive evidence in the record suggesting

that the NMFS failed to comply with the requirements of the National Environmental Policy

Act (NEPA), 42 U.S.C. §§ 4321-4370d, either with regard to the integration of the

Supplemental Environmental Impact Statement into the decision making process or in its
consideration of plaintiffs’ suggested alternatives.
ORDER

For the foregoing reasons, plaintiffs’ motion for summary judgment is DENIED.

Defendants’ cross-motion for summary judgment is ALLOWED.

SO ORDERED.

UNITED STATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NO. 02-CV-12067-RGS
DICKSON, S.A.
V.
THOMAS A. BARRETT, et al.

MEMORANDUM AND ORDER ON
MOTION FOR A PRELIMINARY INJUNCTION

November 4, 2002
STEARNS, D.J.
As stated at the conclusion of the hearing, the Motion for a Preliminary Injunction is
DENIED, the court not being persuaded that there is any assurance that plaintiff will prevail

on the merits. See generally, Shields v. Zuccarini, 254 F.3d 476, 484-485 (3d Cir. 2001).

The court, however, accepts defendants’ representation that they have no intention of
relinquishing the ownership of the domain name DICKSON.US during the duration of the
litigation nor any intention of making any unlawful use of the domain name. The court further
accepts defendants’ stipulation that neither they nor any entity with which they are affiliated
or over which they exercise control will transfer, relinquish, encumber or alienate the domain
name DICKSON.US without the prior approval of the court.

On an unrelated matter that arose during the hearing, defendants are required to
obtain legal representation for their defendant corporation Name Share, Inc. Under the law
of Massachusetts, “except for small claim matters, a corporation may not be represented in
judicial proceedings by a corporate officer who is not an attorney licensed to practice law in

the Commonwealth.” Varney Enterprises, Inc. v. WME, Inc., 402 Mass. 79,79 (1988). See

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also L.R. 83.5.2(d). Defendants will cause an appearance to be entered on behalf of the
corporation within twenty-one (21) days of the entry of this Order. The parties will submit a

final proposed scheduling order within fourteen (14) days of the filing of that appearance.

SO ORDERED.

lush Harm

UNITED STATES DISTRICT JUDGE

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UNITED STATES DISTRICT;COURT 1...
FOR THE : :
DISTRICT OF MASSACHUSETTS _

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) es oo
SYDNEY A. ROSE, ) ES LAGS
Plaintiff )
)
Vs. ) Civil Action #01-11985-RGS
ROBERT LASKEY, AS COMMISSIONER OF J my
DEPARTMENT OF REVENUE, ) fy
Defendant. ) Ot Vy eben
)
)

DEFENDANT ROBERT LASKEY IN HIS OFFICIAL CAPACITY AS COMMISSIONER
OF DEPARTMENT OF REVENUE ANSWER TO PLAINTIFFS’? AMENDED
COMPLAINT

1. The defendant Robert Laskey in his Official Capacity as Commissioner of the
Department of Revenue states that it does not have sufficient knowledge or information
to admit or deny the allegations in paragraph one of the complaint.

2. The defendant admits that Robert Laskey in his Official Capacity as Commissioner of the

Department of Revenue states that this is the location of his office.

tod

The defendant Robert Laskey in his Official Capacity as Commissioner of the
Department of Revenue states that count three of the plaintiff complaint does not contain
any substantive factual allegations and appears to call for a legal conclusion therefore no
response 1s required. Defendant further notes that plaintiff has not complied with all

conditions precedent to filing suit before this court under Title I of the ADA.

4, The defendant Robert Laskey in his Official Capacity as Commissioner of the

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Department of Revenue denies the allegations in paragraph four of the plaintiff's
complaint.

5. The defendant Robert Laskey in his Official Capacity as commissioner of the Department
of Revenue states that it does not have sufficient knowledge or information to admit or
deny the allegations in paragraph five of the complaint.

6, The defendant Robert Laskey in his Official Capacity as Commissioner of the
Department of Revenue states that it denies the allegations in paragraph six of the
plaintiff's complaint.

RELIEF SOUGHT
The defendant Robert Laskey in his Official Capacity as Commissioner of the
Department of Revenue opposes the relief sough by the plaintiff.
AFFIRMATIVE DEFENSES
FIRST AFFIRMATIVE DEFENSE
Plaintiff's claim for Equitable relief against Robert Laskey in his Official Capacity as

Commissioner of the Department of Revenue ts barred under the ADA be cause he failed to

comply with all the conditions precedent under Title I of the ADA including but not limited to

obtain a right to sue letter.
SECOND AFFIRMATIVE DEFENSE
Plaintiffs claim against Commissioner Laskey in his Official Capacity under the ADA is

barred because he is not disabled as that term is defined in the statute.

Respectfully submitted
ROBERT LASKEY IN HIS OFFICIAL
CAPACITY AS COMMISSIONER OF THE

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DEPARTMENT OF REVENUE
THOMAS F. REILLY
ATTORNEY GENERAL

' eT
Marini Torres-Benson BBO# 632354
Assistant Attorney General
Government Bureau/Trial Division
200 Portland Street, 3"? Floor
Boston, MA 02114

(617) 727-2200 x 3331

CERTIFICATE OF SERVICE

I, Marini Torres-Benson, Assistant Attorney General, hereby certify that I have this day,
November 4, 2002, I served the foregoing documents upon the attorney for the plaintiff, by
mailing a copy, certified mail to: Sydney A. Rose, 15 Lamprey Road, Kensington, NH 03803-

6709, B& Vac

Marini Torres-Benson
Assistant Attorney General

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CERTIFICATE OF SERVICE

I, Marini Torres-Benson, Assistant Attorney General, hereby certify that I have this day,
March 4, 2002, served the foregoing documents upon the attorney for the plaintiff, by mailing a

copy, certified mail to:

Sydney A. Rose
93 Witchtrot Rd.
Sanbornville, N.H. 03872-4201

Marini Torres-Benson
Assistant Attorney General

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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

CIVIL ACTION NUMBER 02-10159-RGS.
THERESA CAMACHO

poy i :
“ ty Y vf
UNITED STATES OF AMERICA

MEMORANDUM AND ORDER ON DEFENDANT'S
MOTION TO DISMISS

November 4, 2002

STEARNS, D.J.

Theresa Camacho was injured when she fell while attempting to climb down from
a doctor's examining table. In due course, she brought a Complaint alleging medical
malpractice on the part of the examining physician, Dr. Michelle Hallee, who had left her
on the table unattended. What began as an action in the Superior Court became a federal
case when the parties realized that Dr. Hallee was a federal employee. The United States
now moves to dismiss on grounds that Camacho failed to make a timely presentment
under the Federal Tort Claims Act (FTCA).

BACKGROUND

The facts alleged by the plaintiff, which for present purposes must be taken as true,
are these. On August 6, 1997, Camacho, then an apparently frail 78 year old woman, was
seen by Dr. Michelle Hallee at the Winthrop Community Health Center (WCHC) after she
complained of a swelling in her left jaw. At the conclusion of the examination, Camacho

was left sitting on an examination table while Dr. Hallee dictated her treatment notes.

When Camacho attempted to dismount from the table, she fell, fracturing her left hip and

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pelvis. She was then sent home without any evaluation of her injuries. On August 16,
1997, Camacho was admitted to Massachusetts General Hospital for treatment.

Camacho, through her attorney, James Riley, a partner in the firm of Karol & Riley,
brought an action for medical malpractice against Dr. Hallee in the Superior Court on
March 27, 1998. On April 10, 2000, a judge of that court allowed Camacho’s motion for
a speedy trial on account of her advanced age and deteriorating health. On April 21, 2000,
Dr. Hallee formally notified the state court that she “ha[d] just learned (through her counsel)
that because of her employment relationship with East Boston Neighborhood Health
Center she was a federal employee for purposes of the Federal Tort Claims Act for the
time period and medical care at issue.”’ On June 14, 2000, the United States removed the
case to federal court and moved to substitute itself as the proper defendant. On July 20,
2000, Judge Tauro allowed the motion.

On August 24, 2000, Assistant United States Attorney (AUSA) Carmody informed
attorney Riley that the United States intended to seek a dismissal because Camacho had
failed to file an administrative claim within two years of the accident as required by the
FTCA, 28 U.S.C. § 2675. Carmody requested a consent to a voluntary dismissal. On
September 8, 2000, Riley sent Carmody a conditional consent with a proposed stipulation

that Camacho would have six months to file her administrative claim with the Department

‘Because WCHC receives federal funding under the Federally Supported Health
Centers Assistance Act of 1992, 42 U.S.C. § 233(a), any action for employee negligence
must be brought under the FTCA.

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of Health and Human Services.* The proposed consent stated that

[p]laintiff agrees to voluntary dismissal of her case without prejudice with the
understanding that this course of action will not prejudice her rights. Namely,
she has six months after the dismissal of this action to file the administrative
claim with the Department of Health and Human Services (DHH) in
accordance with the FTCA 28 U.S.C. § 2679(d)(5). Assuming that the DHH
will not settle her claim, the statute of limitations should she re-file this case
in federal court will run from the date of her original filing in state court in
accordance with federal case law. See, e.g., Staple v. U.S., 740 F.2d 766
(1984); McGowan v. Williams, 623 F.2d 1239 (1980); Whistler v. U.S., 252
F. Supp. 913 (1966).

In a letter accompanying the draft, Riley stated as follows.

This letter is to inform you that we are willing to voluntarily dismiss this case
from federal court. We are now aware that during the relevant time period
Michelle Hallee, M.D. was a federal employee which brings this claim within
the Federal Tort Claims Act (FTCA). Additionally, we are aware of the
administrative notice requirement of the FTCA and have already completed
Standard Form 95 on behalf of Mrs. Camacho, a preliminary copy of which
| have enclosed simply for your perusal. We will be submitting said form to
the Department of Health and Human Services immediately upon
confirmation of dismissal from federal court. It is our understanding that
these actions will in no way harm Mrs. Camacho’s rights.

Carmody rejected Riley’s proposed draft, suggesting instead that the parties file the
“bare bones” stipulation of dismissal without prejudice that she “routinely used and
recommended.” On October 25, 2000, Camacho filed the stipulation of dismissal in the
form Carmody proposed. The stipulation made no reference to the filing of an
administrative claim. Three days later Marshall Karol, Riley’s law partner, died of

metastatic melanoma.”

2On September 12, 2000, Camacho entered into an agreement to “employ the
attorney [James Riley] to represent her in pursuing a civil negligence claim for personal
injury under the Federal Tort Claims Act against Michelle Hallee, M.D.”

3Karol was diagnosed with cancer in March of 2000. Karol was “an advisor and
mentor to everyone in the [firm].” His death “was devastating and disruptive to the entire

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On February 14, 2001, Camacho filed an FTCA administrative claim with the
Department of Health and Human Services. Camacho refiled her action against the United
States on January 29, 2002. The United States responded with the instant motion to
dismiss, pointing out that Camacho’s untimely filing of her administrative claim failed to
satisfy the jurisdictional requirements of the FTCA.

DISCUSSION

The FTCA requires, as a condition precedent to the bringing of a negligence suit
against the United States, that a plaintiff file an administrative claim with the appropriate
government agency and that the claim be formally denied by the agency in writing. 28
U.S.C. § 2675. The FTCA contains a savings clause to protect plaintiffs caught unawares
by the insertion of the United States as a party.

Whenever an action or proceeding in which the United States is substituted

as the party defendant under this subsection is dismissed for failure first to

present a claim pursuant to section 2675(a) of this title, such a claim shall be

deemed to be timely presented under section 2401 (b) of this title if —

(A) the claim would have been timely had it been filed on the date the
underlying civil action was commenced, and

(B) the claim is presented to the appropriate Federal agency within 60 days
after dismissal of the civil action.

28 U.S.C. § 2679(d)(5).
There is no dispute but that Camacho’s administrative claim was filed well after the

60 day grace period had expired, apparently because of a mistaken belief on the part of

office .... [T]he entire office was moved from Boston to Walpole and Attorney Karol’s
clients were notified of his passing, his [heavy] caseload was absorbed ... , and an
enormous emotional and physical toll was borne by all.” There is no reason to doubt these
tragic circumstances, but Karol was neither an attorney of record nor involved in the
litigation of this case.

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Camacho’s attorneys that the FTCA grace period was six months rather than 60 days.
Camacho entreats the court to excuse the procedural default by applying either the
doctrine of equitable estoppel or the doctrine of equitable tolling. Despite the “strong policy

favoring the disposition of cases on the merits,” Zavala Santiago v. Gonzalez Rivera, 553

F.2d 710, 712 (1st Cir. 1977), the court can do neither.
“Courts invoke equitable estoppel when a defendant's conduct causes a plaintiff to
delay bringing an action or pursuing a claim he or she was entitled to initiate by law.”

Kelley v. N.L.R.B., 79 F.3d 1238, 1247 (1st Cir. 1996). To satisfy the elements of a claim

of equitable estoppel “(1) [t]he party to be estopped must know the facts; (2) he must
intend that his conduct shall be acted on or must so act that the party asserting the
estoppel had a right to believe it is so intended; (3) the latter must be ignorant of the true

facts; and (4) he must rely on the former's conduct to his injury.” Clauson v. Smith, 823

F.2d 660, 661 (1st Cir. 1987). See also Heckler v. Community Health Services., 467 U.S.

51, 59 (1984). Equitable estoppel in its common-law incarnation did not apply against the

federal government. Office of Personnel Management v. Richmond, 496 U.S. 414, 419

(1990). “The general rule is that ‘those who deal with the Government are expected to
know the law and may not rely on the conduct of Government agents contrary to the law.”
Kelley, 79 F.3d at 1249. A party seeking to invoke the doctrine must at a minimum "have
reasonably relied on some ‘affirmative misconduct’ attributable to the sovereign." United

States v. Ven-Fuel, Inc., 758 F.2d 741, 761 (1st Cir. 1985). See also In re Ludlow Hospital

Society, Inc., 124 F.3d 22, 25-26 (1st Cir. 1997). Absent evidence of affirmative

misconduct, there is no basis for asserting an estoppel claim. Frillz, Inc. v. Lader, 104 F.3d

515, 518 (1st Cir. 1997). See also Heckler, 467 U.S. at 67 (1984) (Rehnquist, J.

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concurring) (noting that the Supreme Court has never upheld an estoppel claim against the
government).

Here, there is no evidence of any misconduct whatsoever by the government.
AUSA Carmody never affirmatively misrepresented the time limits for the filing of an
administrative claim. Even if she had, Camacho was represented by counsel who would

have been expected to know the law. See Ramos-Baez v. Bossolo-Lopez, 240 F.3d 92,

94 (1st Cir. 2001) (“All counsel, therefore, have the undelegable responsibility to know and

follow [the applicable] rules.”); Sarit v. U.S. Drug Enforcement Admin., 987 F.2d 10, 15 (1st

Cir. 1993) (“Counsel is charged with knowledge of the law, and that knowledge is imputed
to plaintiffs.”). Moreover, counsel in this case knew the applicable law. Attorney Riley's
cover letter to AUSA Carmody cited the relevant section of the FTCA and enclosed a
completed copy of the proper administrative claim form. Under the circumstances, AUSA
Carmody would have had no reason to believe that counsel was laboring under the
mistaken impression that he had six months to file the form (and even if she did, she had
no duty, other than one of common courtesy, to correct that impression). Because no fault
can be attributed to AUSA Carmody, there is no basis on which to invoke an estoppel.
The doctrine of equitable tolling suspends the running of the statute of limitations
if a plaintiff exercising reasonable diligence could not for reasons beyond her control have

discovered information essential to the filing of a suit. Gonzalez v. United States, 284 F.3d

281, 291 (1st Cir. 2002). Unlike the case with equitable estoppel, there is no common-law
bar to the invocation of equitable tolling against the government. Nonetheless, “the
principles [of the doctrine] do not extend to what is at best a garden variety claim of

excusable neglect.” Irwin v. Department of Veterans Affairs, 498 U.S. 89, 96 (1990). The

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First Circuit Court of Appeals has

identified five factors that should guide courts in evaluating a claimant's
entitlement to such tolling: (1) a lack of actual notice of a time limit; (2) a lack
of constructive notice of a time limit; (3) diligence in the pursuit of one's
rights; (4) an absence of prejudice to a party opponent; and (5) the claimant's
reasonableness in remaining ignorant of the time limit. See Benitez-Pons v.
Commonwealth of Puerto Rico, 136 F.3d 54, 61 (1st Cir.1998) (deciding
whether to toll the running of a statute of limitations) (citing Kale v. Combined
Ins. Co., 861 F.2d 746, 752 (1st Cir.1988)). The fundamental principle is that
equitable tolling "is appropriate only when the circumstances that cause a
[party] to miss a filing deadline are out of his hands.” Salois v. Dime Savings
Bank, 128 F.3d 20, 25 (1st Cir.1997) (citation and internal quotation marks
omitted). For this reason, "[e]quitable tolling is unavailable where a party fails
to exercise due diligence." Benitez-Pons, 136 F.3d at 61.

Jobe v. I.N.S., 238 F.3d 96, 100 (1st Cir. 2001).

Plaintiff learned that Dr. Hallee was a federal employee for purposes of the FTCA
no later than April 21, 2000. The motion to substitute the United States as a defendant
was allowed on July 20, 2000. The stipulation of dismissal was entered by the plaintiff on
October 25, 2000. Pursuant to 28 U.S.C. § 2679(d)(5)(B), plaintiff had 60 days thereafter
to file an administrative claim. She did not do so until February 14, 2001. The FTCA
statute imposing the 60 day limitations period was repeatedly cited in court papers and in
correspondence by both parties. Nothing was hidden or concealed from the plaintiff and
nothing was therefore “out of [her] hands.”

The only additional argument raised at the motion hearing was plaintiff's assertion
that no prejudice would accrue to the United States should the court excuse her failure to
comply with the filing deadline.

Although absence of prejudice is a factor to be considered in determining

whether the doctrine of equitable tolling should apply once a factor that might

justify such tolling is identified, it is not an independent basis for invoking the

doctrine and sanctioning deviations from established procedures. Procedural
requirements established by Congress for gaining access to the federal

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courts are not to be disregarded by courts out of a vague sympathy for
particular litigants. As we stated in Mohasco Corp. v. Silver, 447 U.S. 807,
826 (1980), “[i]n the long run, experience teaches that strict adherence to the
procedural requirements specified by the legislature is the best guarantee of
evenhanded administration of the law.

Baldwin County Welcome Center v. Brown, 466 U.S. 147, 152 (1984).

The court is not unsympathetic to the fact that because of a misstep by her lawyers
plaintiff's case will not be adjudicated on its merits. The court understands that plaintiff's
lawyers did not act in bad faith or out of callous neglect of their client. The court has
exerted itself to conceive a principled means of extricating this case from the procedural
trap into which it has fallen. But unfortunately, no imagining suffices when the law, even
if harshly, has drawn a line so impenetrably bright.

ORDER

For the foregoing reasons, the government's Motion to Dismiss for Lack of Subject

Matter Jurisdiction is ALLOWED.

SO ORDERED.

UNITED STATES DISTRICT JUDGE

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UNITED STATES DISTRICT:COURT
‘FOR THE
DISTRICT OF MASSACHUSETTS

ADVANCED POLYMER TECHNOLOGY 02 0) Jo oe
CORPORATION, ay ed pe soy,
Plaintiff

Civil Action
No. 02-11591-RGS

V.

QUEST SPORTS SURFACING, LLC,
Defendant

ANSWER, AFFIRMATIVE DEFENSES, COUNTERCLAIM, AND JURY CLAIM
OF QUEST SPORTS SURFACING, LLC

Defendant, Quest Sports Surfacing, LLC (“Quest”), responds to the numbered paragraphs
of the Plaintiff's Complaint to Recover Outstanding Indebtedness (“Complaint”):

PARTIES, JURISDICTION, AND VENUE

1. Quest is without information or knowledge sufficient to form a belief as to the
truth of the factual allegations contained in paragraph 1 of the Complaint.

2. Quest admits the allegations contained in paragraph 2 of the Complaint with the
exception that its principal place of business is located at 2501 Mount Pleasant Boulevard,
Muncie, Indiana.

3. To the extent that paragraph 3 comprises statements of law and/or legal

conclusions, no response is required by Quest. Quest denies any allegation of fact contained

within paragraph 3. | U
4. “

conclusions, no response is required by Quest. Quest denies any allegation of fact contained

within paragraph 4.

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FACTS COMMON TO ALL COUNTS

5. Quest admits only that it entered into a single agreement with APT concerning the
purchase of Turf for installation at various project sites including some of those identified in
paragraph 5. Quest, however, expressly denies that there was more than one BB&N Project.

6. Quest admits only that under the terms of the parties’ single agreement, APT was
to provide the Turf and to ship it, according to Quest’s respective instructions, to designated
locations in Massachusetts where Quest or its designated subcontractor were to install it. Quest
denies all other allegations of fact contained within paragraph 6.

7, Quest admits only that under the terms of the parties’ single agreement, Quest was
obligated to make partial payment of the Turf purchase price for each respective project in
advance of delivery of the Turf to the respective project sites. Quest denies all other allegations
of fact contained within paragraph 7.

8. Quest admits only that under the terms of the parties’ single agreement, upon any
shipment of Turf, APT was to generate invoices for any balances due concerning the shipment.
Quest lacks sufficient information to admit or deny all other allegations contained within
paragraph 8, and, therefore, denies same.

9. Quest denies that the document referenced in paragraph 9 sets forth the terms and
conditions of, or constitutes any part of, the parties’ agreement. Quest lacks sufficient
information to admit or deny all other allegations contained within paragraph 9, and, therefore,
denies same.

10. Quest denies that the document referenced in paragraph 10 sets forth the terms

and conditions of, or constitutes any part of, the parties’ agreement. Quest denies all other

allegations of fact contained within paragraph 10.

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COUNT I-BREACH OF CONTRACT-BUCKINGHAM, BROWN & NICHOLS

PROJECT 1
11. Quest realleges and reasserts its responses contained within the preceding
paragraphs 1-10.
12. Quest lacks sufficient information to admit or deny that on July 16, 2001, it sent

the document attached to the Complaint as Exhibit “B,” the terms of which speak for themselves,
and, therefore, denies same. Quest expressly denies that there was more than one BB&N Project,
as suggested by the quoted designation contained within this paragraph.

13. Quest admits the allegations contained within paragraph 13.

14. Quest admits only that it made partial payment prior to the provision of the Turf.
Quest denies all other allegations contained within this paragraph.

15. | Quest admits only that APT sent the invoice attached to its Complaint as Exhibit
“C,” the terms of which speak for themselves. Quest expressly denies that APT fully performed
its obligations to provide and ship the ordered Turf.

16. Quest denies the allegations contained within paragraph 16.

17. Quest denies the allegations contained within paragraph 17.

COUNT T-BREACH OF CONTRACT-BUCKINGHAM, BROWN & NICHOLS

PROJECT 2
18. Quest realleges and reasserts its responses contained within the preceding
paragraphs 1-17.
19. Quest expressly denies that the parties’ agreement concerned a second project at

BB&N; at all times there was only one project to be performed at BB&N. Quest denies all other
allegations contained within paragraph 19.
20. Quest admits only that it did not send a written purchase order for the replacement

Turf necessary for the one and only BB&N Project. Quest denies al] other allegations contained

within paragraph 20.

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21. Quest admits the allegations contained within paragraph 21.

22. Quest admits only that it paid APT the full balance owing concerning the Turf for
the one and only BB&N Project. Quest denies all other allegations contained within paragraph
22.

23. Quest admits only that APT sent the invoice attached to its Complaint as Exhibit
“D,” the terms of which speak for themselves. Quest expressly denies that APT fully performed
its obligations to provide and ship the ordered Turf.

24. Quest denies the allegations contained within paragraph 24.

25. Quest denies the allegations contained within paragraph 25.

COUNT III-BREACH OF CONTRACT-SOCCER CITY PROJECT

26. Quest realleges and reasserts its responses contained within the preceding
paragraphs ]-25.

27. Quest lacks sufficient information to admit or deny that on June 21, 2001, it sent
the document attached to the Complaint as Exhibit “E,” the terms of which speak for themselves,
and, therefore, denies same.

28. Quest admits the allegations contained within paragraph 28.

29. Quest admits that it made partial payment prior to the provision and shipment of
the Turf. Quest denies all other allegations contained within paragraph 29.

30. Quest admits only that APT sent the invoice attached to its Complaint as Exhibit
“F,” the terms of which speak for themselves. Quest expressly denies that APT fully performed
its obligations to provide and ship the ordered Turf.

31. Quest denies the allegations contained within paragraph 31.

32. Quest denies the allegations contained within paragraph 32.

COUNT III-BREACH OF CONTRACT-MANSFIELD PROJECT

33. Quest realleges and reasserts its responses contained within the preceding

paragraphs 1-32.

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34, Quest lacks sufficient information to admit or deny that on June 21, 2001, it sent
the document attached to the Complaint as Exhibit “F,” the terms of which speak for themselves,
and, therefore, denies same.

35. Quest admits the allegations contained within paragraph 35.

36. Quest admits only that it made partial payment prior to the provision and
shipment of the Turf. Quest denies all other allegations contained within paragraph 36.

37. Quest admits only that APT sent the invoice attached to its Complaint as Exhibit
“H,” the terms of which speak for themselves. Quest expressly denies that APT fully performed
its obligations to provide and ship the ordered Turf.

38. Quest denies the allegations contained within paragraph 38.

39. Quest admits the allegations contained within paragraph 39.

40. Quest admits only that APT sent the invoice attached to its Complaint as Exhibit
“T,” the terms of which speak for themselves. Quest expressly denies that APT fully performed
its obligations to provide and ship the ordered Turf.

41. Quest denies the allegations contained within paragraph 41,

42. Quest denies the allegations contained within paragraph 42.

AFFIRMATIVE DEFENSES

1. APT’s allegations fail to state claims against Quest upon which relief may be
granted and should be dismissed pursuant to Fed. R. Civ. P. Rule 12(b)(6).

2, APT’s claims are barred because of its own prior breaches.

3. APT’s claims are barred because of its failure to meet the necessary conditions
precedent to any right of recovery.

4, APT’s claims are barred as it has suffered no damage.

5. APT’s claims are barred as its damages, if any, were caused by its own actions

and omissions, or by those actions or omissions of its own agents.

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6. APT’s claims are barred as its damages, if any, were caused by third parties over
whom Quest has no control and for whom Quest is not responsible.

7. APT’s’s claims are barred as the amount of its damages, if any, is less than the
amount of damage it has caused to Quest through its own actions or omissions, or through the
actions or omissions of its own agents.

8. APT’s claims are barred as it has caused damage to Quest through its own actions
or omissions, or through the actions or omissions of its own agents.

9. APT may not recover in this action for its failure to join one or more necessary
parties.

10. APT’s claims are barred because, through its actions and conduct, APT released
any right of recovery it may have had against Quest.

11. APT’s claims are barred by the doctrine of estoppel.

12. APT’s claims are barred by the doctrine of waiver.

13. APT’s claims are barred by the Statute of Frauds.

COUNTERCLAIM

Quest Sports, LLC (“Quest”), hereby asserts a counterclaim for breach of contract against

Advanced Polymer Technology Corporation (“APT”):
FACTS

1. In or about the spring of 2001 Quest and APT entered into an agreement whereby
APT agreed to provide Poligras NF Premier Synthetic Turf (the “Turf’) to Quest, for installation
by Quest, at several project sites in Massachusetts.

2. The agreement covered project sites in Belmont, Middlesex County,
Massachusetts (“Belmont Project”); Cambridge, Middlesex County, Massachusetts (““BB&N

Project”); Mansfield, Bristol County, Massachusetts (“Mansfield Project”); and Wilbraham,

Hampden County, Massachusetts (the “Soccer City Project”).

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3. By the terms of the agreement, APT was to provide Turf for each of these projects
in amounts to be requested thereafter by respective purchase orders from Quest.

4, Also by the terms of the agreement, APT was to provide the Turf at a price of
$1.30 per square-foot for the Belmont project, and at a price of $1.40 per square-foot for each of
the other projects.

5. On or about July 16, 2001, Quest sent a written purchase order to APT for 15,750
square-feet of Turf for installation at the BB&N Project.

6. Pursuant to the parties’ agreement, the purchase price was to be $1.40 per square-
foot.

7. Unfortunately, due to manufacturing difficulties, APT failed to timely deliver the
Turf for the BB&N Project.

8. As such, in order to meet its installation deadlines for the BB&N Project, Quest
was forced to utilize a portion of the Turf which had been previously delivered for the Belmont
Project.

9. Upon inspection of the Turf installation, the architect for the BB&N Project
rejected it due to manufacturing defects in the Turf, namely, inconsistencies in its coloring.

10. As aresult, Quest was forced to remove the defective Turf, and to perform an
entirely new installation at the BB&N Project.

COUNTI
(Breach of Contract)

11. Quest expressly realleges paragraphs 1 through 10 of its Counterclaim as if fully
set forth herein.

12. APT’s failure to timely deliver ordered Turf, and its provision of defective Turf,
constitute material breaches of the parties’ agreement.

13. APT’s breaches have caused Quest to suffer damage in an amount to be

determined at trial.

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PRAYERS FOR RELIEF

WHEREFORE, the Defendant, Quest Sports, LLC, requests that this Court grant the
following relief:

1. Enter judgment in favor of Quest Sports, LLC on all Counts of the Complaint,
dismissing those claims against it, and awarding its costs of defense;

2. Enter judgment in favor of Quest Sports, LLC and against Advanced Polymer
Technologies Corporation on Count I of the Counterclaim, finding that Advanced Polymer
Technologies Corporation has breached the parties’ agreement, and that Quest Sports, LLC has
been damaged in an amount to be assessed at trial; and

3. For such other and further relief as this Court deems just and proper.

Quest Sports, LLC claims trial by jury on all issues so triable as to both the
Complaint and the Counterclaim.
Respectfully submitted,
QUEST SPORTS SURFACING, LLC

By its Attorneys,
RIEMER & BRAUNSTEIN LLP

Dated: November_/_, 2002 bain # M Pron /

Brian P. McDonough

BBO NO. 637999

Riemer & Braunstein Lip
Three Center Plaza

Boston, Massachusetts 02108
(617) 523-9000

and

F Bray, Cust (Gots)

P. Gregory Cro¥s

P. Gregory Cross, P.C.
Indiana Bar No. 3448-18
Post Office Box 3229
Muncie, Indiana 47307-3229

741473.1

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CERTIFICATE OF SERVICE

I, Brian P. McDonough, hereby certify that on this pt, day of November, 2002, I served
the foregoing, by causing a copy of same to be delivered by first-class mail, postage prepaid, to:

Christopher A. Duggan, Esq.
Smith & Duggan, LLP

Two Center Plaza

Boston, Massachusetts 02108-1906

Dana M. Richens, Esq.

Smith, Gambrel & Russell, LLP
Promenade II, Suite 3100

1230 Peachtree Street, N.E.
Atlanta Georgia 30309-3592

Be? MPa

Brian P. McDonough

741473.1

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UNITED STATES DISTRICT COURT = =

oo FOR THE DISTRICT OF MASSACHUSETTS _
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Mads GF OU Pie,

DUNKIN’ DONUTS INCORPORATED,
a Delaware Corporation,

Plaintiff,
Vv. Civil Action No, 02-11639-RGS
COELHO’S COFFEE SHOP, INC.,
a Massachusetts corporation,
CESAR F. COELHO, and
ANGELA COELHO,
Residents of Massachusetts

Defendants.

CONSENT ORDER

IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff Dunkin’
Donuts Incorporated and Defendants Coelho’s Coffee Shop, Inc., Cesar F. Coelho, and Angela
Coelho (hereinafter “Defendants”) that Plaintiff's Motion for a Preliminary Injunction is
resolved upon the following terms and conditions:

1. Plaintiff's Motion for a Preliminary Injunction is granted to the extent agreed to
herein.

2. Defendants shall cure the violations at their Dunkin' Donuts shop located at 438-
454 Main Street, Route 28, Dennisport, Massachusetts 02639 as identified in the Critical Food
Safety and Sanitation Inspection and Store Standards Inspection forms dated October 21, 2002,
copies of which are attached hereto, collectively, as Exhibit 1, by no later than Friday, November
1, 2002.

3, Defendants’ execution of this Consent Order and agreement to cure the violations
referenced in Paragraph 2 above shall not constitute an admission that those violations actually

existed at its shop on the date in question.

4, Plaintiff's claim for its attorneys’ fees and costs remains pending.

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- SIGNED AND ENTERED hissOhy of OctSbey

RICHARD G. STEARNS
United States District Court Judge

Respectfully submitted,

. j / il Oy py,

Kola ifAl.lugte Lemna Stare?

Robert A. Murphy, B 3700 James W. Savage, BBO #442980
CASNER & EDW: S, LLP Law Office of James W. Savage
303 Congress Street 44 Byfield Road
Boston, Massachusetts 02210 Newton, Massachusetts 02468
Telephone: (617) 426-5900 Telephone: (617) 964-0090
Facsimile: (617) 426-8810 Facsimile: (617) 969-1478
Robert L. Zisk (RZ 1275) Attorney for Defendants

David E. Worthen (DW 8519)
Roland B. Ninomiya (RN 6381)
Schmeltzer, Aptaker & Shepard, P.C.
2600 Virginia Avenue, N.W.

Suite 1000

Washington, D.C. 20037

Telephone: (202) 333-8800
Facsimile: (202) 625-3311

Attorneys for Plaintiff

Dated: October 29, 2002

A22264

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UNITED STATES DISTRICT COURT
{ DISTRICT OF MASSACHUSETTS

LORO LO-LAJA KUJJO CIVIL ACTION NO. 02-1047RGS

Plaintiff,
Vv.

CEPHALON, INC., WALGREEN
EASTERN COMPANY, INC,
AND DR. KENNETH C.
SASSOWER, M.D.

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Defendants.

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ANSWER AND JURY CLAIM OF THE DEFENDANT,
KENNETH C. SASSOWER, M.D. TO THE PLAINTIFF’S =:

AMENDED COMPLAINT : ~
Now comes the defendant, Kenneth C. Sassower, M.D, and pursuant to nui ta) aéthe <
Federal Rules of Civil Procedure, responds to the Plaintiff’s Amended Complaint paragraph by
paragraph as follows:
1. The defendant is without knowledge sufficient to form a belief as to the truth or accuracy
of the allegations made in paragraph 1 of the Plaintiff’s Amended Complaint. “ Bee, es
2. The defendant is without knowledge sufficient to form a belief as to the truth or acéliracy : Y

of the allegations made in paragraph 2 of the Plaintiff's Amended Complaint.
3, The defendant is without knowledge sufficient to form a belief as to the truth or accuracy

of the allegations made in paragraph 3 of the Plaintiff's Amended Complaint.

4... The defendant admits the allegations made in paragraph 4 of the Plaintiff's Amended
Complaint.
5. Paragraph 5 of the Plaintiff's Amended Complaint calls for a conclusion of law, to which

no response is required. In further answering paragraph no, 5 of the Plaintiff's Amended

Complaint, the defendant states that this court does not have jurisdiction over him.

6. Upon information and belief, the defendant admits the allegations made in paragraph 6 of

the Plaintiff's Amended Complaint.

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7. The defendant is without knowledge or information sufficient to form belief as to the
truth or accuracy of the allegations made in paragraph 7 of the Plaintiff's Amended Complaint.
8. Paragraph 8 of the Plaintiff's Amended Complaint does not set forth any allegations of
fact, and as such, no response by this defendant is required.

9. Answering the allegations made in paragraph 9 of the Plaintiff’s Amended Complaint,
the defendant admits that he did prescribe Provigil for the plaintiff.

10. The defendant is without knowledge or information sufficient to form a belief as to the
truth or accuracy of the allegations made in paragraph 10 of the Plaintiff's Amended Complaint.
11. The defendant is without knowledge or information sufficient to form a belief as to the
truth or accuracy of the allegations made in paragraph 11 of the Plaintiff’s Amended Complaint.
12. Answering the allegations made in paragraph 12 of the Plaintiff's Amended Complaint,
the defendant admits that Provigil was prescribed for the plaintiff to address his sleep disorder.
The defendant is without knowledge or information sufficient to form a belief as to the truth or
accuracy of the remaining allegations contained in paragraph 12 of the Plaintiff's Amended
Complaint.

13. The defendant denies the allegations made in paragraph 13 of the Plaintiff's Amended
Complaint.

14. The defendant is without knowledge or information sufficient to form a belief as to the
truth or accuracy of the allegations made in paragraph 14 of the Plaintiff's Amended Complaint.
15. The defendant denies the allegations made in paragraph 15 of the Plaintiff's Amended
Complaint,

16. The defendant denies the allegations made in paragraph 16 of the Plaintiff's Amended
Complaint.

17. Answering the allegations made in paragraph 17 of the Plaintiff's Amended Complaint,
the defendant states that the product information sheet dispensed with Provigil speaks for itself.

18. Answering the allegations made in paragraph 18 of the Plaintiff's Amended Complaint,

the defendant states that the product information sheet dispensed with Provigil speaks for itself.

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19, The defendant denies the allegations made in paragraph 19 of the Plaintiff's Amended
Complaint.

20. The defendant is without knowledge or information to form a belief as to the truth or
accuracy of the allegations made in paragraph 20 of the Plaintiff’s Amended Complaint.

21, The defendant denies the allegations made in paragraph 21 of the Plaintiff's Amended
Complaint.

22. The defendant denies the allegations made in paragraph 22 of the Plaintiff's Amended
Complaint.

23, The defendant denies the allegations made in paragraph 23 of the Plaintiff's Amended
Complaint.

24, The defendant denies the allegations made in paragraph 24 of the Plaintiff's Amended
Complaint.

25, The defendant denies the allegations made in paragraph 25 of the Plaintiff’s Amended
Complaint.

26. The defendant denies the allegations made in paragraph 26 of the Plaintiff's Amended
Complaint.

27, The defendant denies the allegations made in paragraph 27 of the Plaintiff's Amended
Complaint.

28. The defendant is without knowledge or information sufficient to form belief as to the
truth or accuracy of the allegations made in paragraph 28 of the Plaintiff's Amended Complaint.
29, The defendant is without knowledge or information sufficient to form belief as to the
truth or accuracy of the allegations made in paragraph 29 of the Plaintiff’s Amended Complaint.
30, The defendant denies the allegations made in paragraph 30 of the Plaintiff's Amended
Complaint.

31. The defendant denies the allegations made in paragraph 31 of the Plaintiff's Amended

Complaint.

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32. Paragraph 32 of the Plaintiff's Amended Complaint does not contain any allegations of
fact. Consequently, no response is required. To the extent that paragraph 32 is construed to
include any allegations of fact, the defendant denies said allegations.
33. The defendant denies the allegations made in paragraph 33 of the Plaintiff's Amended
Complaint.
34. Paragraph 34 of the Plaintiff’s Amended Complaint does not contain any allegations of
fact. Consequently, no response is required.
35, The defendant denies that he has received a “settlement proposal.”
36. Paragraph 36 of the Plaintiff's Amended Complaint does not contain any allegations or
facts. Consequently, no response is required. To the extent that paragraph 36 is construed to
contain any allegations of fact, the defendant denies said allegations.
FIRST AFFIRMATIVE DEFENSE

The Complaint fails to state a claim against the defendant upon which relief can be

granted,
SECOND AFFIRMATIVE DEFENSE

The plaintiff is barred from recovery since the negligence of the plaintiff was equal to or

greater than any negligence of the defendant as alleged in the Complaint.
THIRD AFFIRMATIVE DEFENSE

If the plaintiff was damaged as alleged in the Complaint, any such damage was the result
of acts or omissions of persons or entities over which the defendant had no control and for whose
conduct the defendant is not legally responsible.

FOURTH AFFIRMATIVE DEFENSE

The plaintiff having been informed of the risks involved consented to the medical

procedures.

FIFTH AFFIRMATIVE DEFENSE

Any recovery by the plaintiff is controlled by the Medical Malpractice Statute.

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SIXTH AFFIRMATIVE DEFENSE
The claims set forth in the Plaintiffs Complaint are barred by the applicable Statute of
Limitations.
SEVENTH AFFIRMATIVE DEFENSE
This court lacks personal jurisdiction over the defendant, Sassower.
EIGHTH AFFIRMATIVE DEFENSE
This court lacks subject matter jurisdiction over the defendant, Sassower.
NINTH AFFIRMATIVE DEFENSE
Plaintiff's Amended Complaint should be dismissed for insufficiency of service of
process.
TENTH AFFIRMATIVE DEFENSE
The Plaintiff’s Complaint should be dismissed for insufficiency of process.
WHEREFORE, the defendant respectfully requests that this court issue an order
dismissing the Plaintiff’s Amended Complaint and awarding him his reasonable attorney’s fees

and costs incurred tn the defense of this action.

JURY CLAIM

The defendant demands a trial by jury to the fullest extent permitted by law.

The Defendant,
Dr. Kenneth C. Sassower
By her attorneys,

hat LL I SL. Loe “ be et 4
Curtis R. Diedrich, BBO#555937. 0-7
Sloane & Walsh, LLP
Three Center Plaza
Boston, MA 02108
(617) 523-6010

Date: / ofy J; “5

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CERTIFICATE OF SERVICE

I, Curtis R. Diedrich, attorney for the defendants, hereby certify that I have this / 7 we

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day of. [ dl é hic (._,2002, served a copy of the attached upon all interested parties, by mailing a

copy of same, postage prepaid, directed to:

Loro Lo-Laja Kujjo, Pro Se
250 Kennedy Drive #610
Malden, MA 02148

Bruce H. Murray, Esq.
Lynch & Lynch

45 Brisdol Drive

So. Easton, MA 02375

Richard B. Kirby, Esq.
Lecomte, Emanuelson & Doyle
1250 Hancock Street

Quincy, MA 02169

Love Cat. Ke hidich

Curtis R. Diedrich
oS

SAKUJJO, LORO LO-LAJA V. SASSOWER, KENNETH, M.D. - RM-360-6449\PLEADINGS\Answer to Amended Complaint.doc

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UNITED STATES DISTRICT COURT
{ DISTRICT OF MASSACHUSETTS

LORO LO-LAJA KUJJO CIVIL ACTION NO. 02-1047RGS

Plaintiff,

Vv.

CEPHALON, INC., WALGREEN
EASTERN COMPANY, INC. ,
AND DR. KENNETH C.
SASSOWER, MLD.

Defendants.

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ANSWER AND JURY CLAIM OF THE DEFENDANT, =:
KENNETH C. SASSOWER, M.D. TO THE PLAINTIFF’S *:;<?
AMENDED COMPLAINT

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Now comes the defendant, Kenneth C. Sassower, M.D. and pursuant to Rule 210) ofthe ra
Federal Rules of Civil Procedure, responds to the Plaintiff's Amended Complaint paragraph by
paragraph as follows:

1, The defendant is without knowledge sufficient to form a belief as to the truth or accuracy

wy

of the allegations made in paragraph | of the Plaintiffs Amended Complaint. *e; »
2. The defendant is without knowledge sufficient to form a belief as to the truth or accuracy wi
of the allegations made in paragraph 2 of the Plaintiff's Amended Complaint.

3. The defendant is without knowledge sufficient to form a belief as to the truth or accuracy

of the allegations made in paragraph 3 of the Plaintiff's Amended Complaint.

4, . The defendant admits the allegations made in paragraph 4 of the Plaintiff's Amended
Complaint.
5. Paragraph 5 of the Plaintiff's Amended Complaint calls for a conclusion of law, to which

no response is required. In further answering paragraph no. 5 of the Plaintiff's Amended

Complaint, the defendant states that this court does not have Jurisdiction over him.

6. Upon information and belief, the defendant admits the allegations made in paragraph 6 of

the Plaintiff's Amended Complaint.

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UNITED STATES DISTRICT COURT inte phe erie
DISTRICT OF MASSACHUSETTS vf ues .
e218 2H
PAUL GIAMBARBA, ) US. Osi: babel
) Stil Uy VhAQ,
Plaintiff, )
) Civil Action No. 02-H3336-RGS
. ISSO
GAIL GIBBONS, HARPERCOLLINS )
PUBLISHERS INC., and )
SCHOLASTIC INC., )
)
Defendants. )
)
AMENDED COMPLAINT
(Plaintiff Demands Trial By Jury)
Introduction
1. This is an action of copyright infringement, violation of the Lanham Act, and

violation of M.G.L. c. 93A arising out of defendants’ wrongful conduct in using, without
plaintiff's knowledge or authorization, text and illustrations from plaintiff's copyrighted
children's book on lighthouses in defendants’ later published children's book on the same subject.

Plaintiff seeks damages, injunctive relief, reasonable attorney's fees and costs.

Parties
2. Plaintiff Paul Giambarba resides in Mashpee, Barnstable County, Massachusetts
and is a citizen of Massachusetts.
3. On information and belief, defendant Gail Gibbons resides in Corinth, Vermont

and is a citizen of Vermont. At all relevant times, defendant Gibbons has been engaged in whe

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business of writing and illustrating books for children. Ms. Gibbon's website
(www.gailgibbons.com) describes Ms. Gibbons as "America's leading children's non-fiction
author" and claims that "over 100 books that [Ms. Gibbons] ha[s] written and illustrated have
been published."

4, On information and belief, defendant HarperCollins Publishers Inc.
("HarperCollins") is a company incorporated under the laws of Delaware, having its principal
place of business at 10 East 53 Street, New York, New York. At all relevant times, defendant
HarperCollins has been engaged in the business of publishing books, including children's books.
In 1999, HarperCollins acquired William Morrow and Company, Inc. ("William Morrow") and
is the successor-in-interest to William Morrow. HarperCollins is a subsidiary of The News
Corporation Limited. HarperCollins's website (www.HarperCollins.com) states that it "is a
broad-based publisher with strengths in literary and commercial fiction, business books,
children's books, cookbooks, mystery, romance, religious and spiritual books," and that it "has
revenues that top $1 billion annually." The News Corporation Limited's website
(www.newscorp.com) states that it "is one of the world's largest media companies with total
assets as of March 31, 2002 of approximately US $42 billion and total annual revenues of
approximately US $15 billion."

5. On information and belief, defendant Scholastic Inc. is a company incorporated
under the laws of New York, having its principal place of business at 555 Broadway, New York,
New York. At all relevant times, defendant Scholastic, Inc. ("Scholastic") has been engaged in

the business of publishing books for children. Scholastic's website (www.scholastic.com) states

that Scholastic "is the largest publisher of children's books in the world" and that it is "a $2

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billion multimedia company with 10,000 employees operating globally in education,

entertainment and publishing businesses marketing to children, parents and teachers."

Jurisdiction and Venue

6. This action arises under: the copyright laws of the United States, 17 U.S.C. 9 501
et seq.; Section 43(a) of the Lanham Act, 15 U.S.C. 9 1125(a); and Massachusetts General Laws
Chapter 93A.

7. This Court has exclusive jurisdiction of the federal copyright claim by virtue of
28 U.S.C, 9 1338(a). This Court has jurisdiction of the Lanham Act claim by virtue of 28
U.S.C. 3 1338(b) and 15 U.S.C. a 1125(a). This Court has jurisdiction of the state law claim by
virtue of 28 U.S.C. 3 1367.

8. This Court has personal jurisdiction over defendants because each of the
defendants conducts business in Massachusetts, and because plaintiff's claims arise out of
defendants’ transaction of business in Massachusetts and their causing of tortious injury in
Massachusetts.

9. Venue is proper in the District of Massachusetts pursuant to 28 U.S.C. 33 1400(a),

1391(b) and 1391(c).

Facts
10. Plaintiff Paul Giambarba has had a long career as an illustrator and writer. He
was Polaroid's first art director and, over the course of 28 years, designed Polaroid's corporate
image and a substantial part of its product identity. When not working on Polaroid designs, Mr.

Giambarba did such things as freelance work for Sports Illustrated; corporate and product

identity programs for Tonka Corporation and Tonka Toys; and covers and illustrations for

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publishers such as Houghton Mifflin. In 1965, he began his own family publishing company,
The Scrimshaw Press, with the goal of introducing low-cost, original, illustrated paperbacks for
children dealing with Cape Cod's historical past, marine lore and ecology. Mr. Giambarba has
written and illustrated 12 books that have been published by The Scrimshaw Press.

11. In 1968 and 1969, Mr. Giambarba wrote and illustrated, and, on or about August
1, 1969, Mr. Giambarba published through The Scrimshaw Press, a book entitled Lighthouses.

12. The copyright page of Lighthouses bore the notice:

Copyright ©1969 by Paul Giambarba. All rights
reserved. No part of this book may be reproduced
or utilized in any form or by any means without
permission in writing from the publisher, except for
brief passages that may be quoted in a review for a
magazine or newspaper.

13. On or about February 9, 1970, Mr. Giambarba applied to the United States
Copyright Office to register copyright in Lighthouses. He deposited in the Copyright Office
with his Form A application a copy of Lighthouses.

14. The Copyright Office thereafter issued to Mr. Giambarba a Certificate of
Registration, No. A126454, dated February 9, 1970. This Certificate of Registration, reproduced
as Exhibit 1 to plaintiff's original Complaint, is incorporated herein by reference.

15. | Mr. Giambarba's foregoing book Lighthouses, reproduced as Exhibit 2 to
plaintiff's original Complaint, is incorporated herein by reference.

16. In 1990, William Morrow, predecessor in interest to defendant HarperCollins,

published, under the Morrow Junior Books imprint, a hardcover book, purporting to have been

written and illustrated by defendant Gail Gibbons, entitled Beacons of Light: Lighthouses.

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17. Also in 1990, defendant Scholastic published a softcover edition of the foregoing
Beacons of Light: Lighthouses. The text and illustrations in this softcover edition were identical
to the text and illustrations in the hardcover book published by William Morrow.

18. The foregoing hardcover book, Beacons of Light: Lighthouses, reproduced as

Exhibit 3 to plaintiff's original Complaint, is incorporated herein by reference.

19. Beacons of Light: Lighthouses made use of illustrations and text created by Mr.

Giambarba and published in his 1969 book Lighthouses. The copied illustrations and text
included, without limitation, the following:

a. On the fourth page of Beacons of Light: Lighthouses ("BOLL"), Ms.

Gibbons copied the illustration of the ship and two lifeboats in dangerous seas appearing on the
second and third pages of Mr. Giambarba's Lighthouses. Also, Ms. Gibbons's accompanying
text,

Oceans and lakes have always been dangerous for
sailors. Storms and howling winds can carry a ship
up on a sandbar or smash it to bits against a rocky
coast [,]

copied Mr. Giambarba's:
The ocean is often dangerous. Howling winds and
mountainous seas can carry a vessel up on a sand
bar miles from shore and break it to bits.
Waves can smash a ship against a rocky coast.

b. On the sixth page of BOLL, Ms. Gibbons's text,

The first guiding lights were huge bonfires that
burned nightly from the tops of hills. In some

places, sailors watched for landmarks, such as
volcanoes, glowing in the night [,]

copied Mr. Giambarba's text on the sixth page of Lighthouses:

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The first warning lights were simply huge fires
burned every night on the coast.

Or they were landmarks such as volcanoes whose
smoldering glow could be seen at night.

Also, Ms. Gibbons's illustration of a boat with oarsmen on BOLL's sixth page copied Mr.
Giambarba's illustration of such a boat on Lighthouses' sixth page, and Ms. Gibbons's illustration
of a lateen rig on BOLL's sixth page copied Mr. Giambarba's illustration of a lateen rig on
Lighthouses’ eighth page.
C. On the eighth page of BOLL, Ms. Gibbons's illustration of Boston Light
with a sloop-of-war flying the Union Jack and having three human figures, copied Mr.
Giambarba’s illustration having the same elements on the 14th and 15th pages of Lighthouses. In
addition, Ms. Gibbons's accompanying text,
The first lighthouse in North America was the
Boston Light, built in 1716. From Little Brewster
Island, it guided sailing vessels in and out of Boston
Harbor [,]

copied Mr. Giambarba's:
The first lighthouse built in North America was
Boston Light, established in 1716, on Little
Brewster Island in Boston Harbor.

d. On BOLL's 12th page, Ms. Gibbons's illustration of a 19th century
lighthouse lens and accompanying diagram copied respectively: (i) Mr. Giambarba's illustration
of such a lens on Lighthouses’ 38th page and (ii) Mr. Giambarba's diagram on Lighthouses’ 54th
page.

€. On the 14th page of BOLL, Ms. Gibbons's text,

The top of a lighthouse is like a giant lantern.
Usually, a winding staircase goes to the top. Years
ago, the lighthouse keeper made many trips up and

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down the stairs, doing chores. The burned lamp
wick had to be trimmed--or adjusted and cut off--to
keep the lamp from smoking. Lighthouse keepers
were sometimes called wick trimmers or wickies [,]

copied the first two sentences of Mr. Giambarba's text on the 44th page of Lighthouses:
The lighthouse keeper of the old days had to make
several trips up and down many many stairs to keep
his lamps "trimmed." He had to cut off the burned
wick and adjust the lamp so it would not smoke and
dirty the lens.

And Ms. Gibbons's text on BOLL's 15th page,
Lighthouse keepers and their families were kept
busy cleaning and polishing the lenses, shining all
the brass in the lighthouse, and cleaning soot off the
tower windows [,]

copied the last sentence of Mr. Giambarba's text on Lighthouses’ 44th page:

He [the lighthouse keeper] and his family kept busy
cleaning the glass lenses.

f. On BOLL's 30th page, Ms. Gibbons's text regarding the Pharos at
Alexandria and the Colossus at Rhodes,
The first lighthouses were towers, built about 2,000
years ago: the Pharos at Alexandria, in Egypt, and
the Colossus at Rhodes, an island off Greece [,]

copied Mr. Giambarba's text on Lighthouses’ eighth page:

The first lighthouses were among the great wonders
of the ancient world:

the Pharos at Alexandria, in Egypt;

the Colossus at Rhodes, an island in the
Mediterranean off the coast of Greece.

Both were built about 300 years before the birth of
Christ.

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Ms. Gibbons's copying extended even to two mistakes made in Mr. Giambarba's text:
Contrary to Mr. Giambarba's text, and contrary to what Ms. Gibbons copied, the Colossus at
Rhodes was not a lighthouse; and Rhodes was an island off the coast of Turkey, not Greece, as
Mr. Giambarba's map, on Lighthouses’ eighth page, shows.

20. Defendant Gibbons used the foregoing illustrations and text, and William Morrow
and Scholastic published these illustrations and text, in BOLL without the authorization,
permission, license or knowledge of plaintiff Giambarba or anyone else at The Scrimshaw Press.
Further, there is no acknowledgment, citation, or statement in BOLL of any kind that
acknowledges the book's use of material created and copyrighted by Mr. Giambarba.

21. | Mr. Giambarba did not learn of the foregoing unauthorized use of his illustrations
and text until November 1, 2001, when, by chance, he happened to come upon and read BOLL in
a bookstore in East Sandwich, Massachusetts. Prior to reading BOLL on November 1, 2001, Mr.
Giambarba had no knowledge whatever of BOLL, and no reason to suspect that Lighthouses or
any part thereof had been copied by the defendants or, for that matter, by anyone else. On
information and belief, part of the reason Mr. Giambarba had no knowledge of the unauthorized
use of his text and illustrations in BOLL was because of actions taken by defendant Gibbons to
fraudulently conceal such use.

22. On information and belief, both the hardcover and softcover editions of BOLL have
been published, marketed and sold by the defendants continuously since 1990, and are still being

published, marketed and sold today.

Claims

COUNT I
Copyright Infringement

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23. Plaintiff repeats and realleges each of the preceding paragraphs of this Complaint.

24. By printing, publishing, distributing and selling BOLL, a book that uses Mr.

Giambarba's copyrighted work without authorization or license, HarperCollins and Scholastic
have infringed Mr. Giambarba's exclusive rights under the Copyright Act in violation of 17
U.S.C, §§106 and 501(a). And, by using Mr. Giambarba's copyrighted work in her manuscript
for BOLL without Mr. Giambarba's authorization or license, Ms. Gibbons has also infringed Mr.
Giambarba's exclusive rights under the Copyright Act. In addition, on information and belief,
Ms. Gibbons has aided and abetted the continuing infringement of Mr. Giambarba’s rights under
the Copyright Act by defendants Harper Collins and Scholastic.

25. Further, the conduct of Ms. Gibbons has constituted a continuing, willful
infringement within the meaning of 17 U.S.C. §504(c)(2).

COUNT II
Violation of Lanham Act

26. Plaintiff repeats and realleges paragraphs 1 through 22 of this Complaint.

27. Defendants have caused BOLL to be published, marketed, distributed and sold
without any credit to Mr. Giambarba and with the implication that no illustrations and no text
authored by Mr. Giambarba have been used in BOLL. Instead, BOLL credits Ms. Gibbons not
only for her own text and illustrations but also for text and illustrations authored by Mr.
Giambarba. The foregoing have constituted false and misleading designation of authorship in
violation of 15 U.S.C. § 1125(a).

28. Further, Ms. Gibbons has promoted herself and her other books through her

website and, on information and belief, in other ways, by falsely claiming, implicitly and

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explicitly, that BOLL was entirely her own work. And, on information and belief, Ms. Gibbons
has made the misrepresentation described in paragraph 33.b. below.

29. The foregoing false and misleading designations of authorship have unjustly
enriched defendants, and have caused damage to Mr. Giambarba.

COUNT III
Violation of Massachusetts General Laws ¢.93A

30. Plaintiff repeats and realleges each of the preceding paragraphs of this Complaint.

31. Mr. Giambarba has at all relevant times been engaged in the conduct of trade or
commerce.

32. Ms. Gibbons, HarperCollins (and its predecessor-in-interest William Morrow) and
Scholastic have at all relevant times been engaged in the conduct of trade or commerce.

33. Defendants’ acts have constituted, and are continuing to constitute, unfair methods
of competition, and unfair and deceptive acts and practices, in violation of M.G.L. c.93A §2.
This claim by plaintiff under M.G.L. c. 93A §2 is not preempted by 17 U.S.C. §301(a) because,
in addition to being based on defendants’ unauthorized copying, reproduction and distribution of
plaintiff's copyrighted work, plaintiff's c. 93A claim is based on the following:

a. On information and belief, defendants have, in their marketing and advertising of
BOLL, falsely represented that BOLL is entirely the work of Ms. Gibbons and have falsely
implied that no illustrations and no text authored by Mr. Giambarba have been used in BOLL, in
spite of the fact that Ms. Gibbons has, at all relevant times, well known that such representation
and such implication are false. Marketing and advertising incorporating such false
representation and false implication have included Ms. Gibbons's promotion of herself and her

work on her website, in which Ms. Gibbons has described herself as "America's leading

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children's non-fiction author," an author who writes non-fiction books because she “love[s]
researching so much,” and the writer and illustrator of "over 100 [published] books" including
BOLL. Given her plagiarism of Mr. Giambarba's work, Ms. Gibbons's description of herself in
the foregoing ways constitutes a material misrepresentation of fact in violation of, among other
things, 940 C.M.R. §6.04(1) because Ms. Gibbons "knows or should know that the material
representation is false or misleading or has the tendency or capacity to be misleading."

b. On information and belief, after receiving the Complaint in this action, Ms.
Gibbons made knowingly false representations to her counsel with the intent that such
representations be communicated by her counsel to Mr. Giambarba's counsel and the Court, all
with the intent of : (i) deterring Mr. Giambarba from pursuing this action; (ii) convincing this
Court to enter judgment against Mr. Giambarba; (iii) concealing her plagiarism; (iv) allowing
her to continue to reap royalties from BOLL undisturbed; and (v) allowing her to continue to
profit from her self-promotion as "America's leading children's non-fiction author," an author
who “love[s] researching,” and the writer and illustrator of "over 100 [published] books." On
information and belief, these knowingly false representations by Ms. Gibbons included, without
limitation, that:

i. The first time Ms. Gibbons ever saw Mr. Giambarba's Lighthouses was
allegedly after she was served with the Complaint in this action when she got the book through
Amazon.com.

ii. The mistakes that appear in BOLL regarding the Colossus of Rhodes being a
lighthouse, and regarding Rhodes being an island off the coast of Greece, rather than Turkey,

were mistakes Ms. Gibbons allegedly made not because she copied them from Mr. Giambarba's

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Lighthouses but rather because she copied the mistakes from an encyclopedia in a local library
close to her home in Vermont.

34. As aresult of defendants’ foregoing acts, Mr. Giambarba has suffered a loss of
money and property. Among other things, Mr. Giambarba has been damaged by the knowing
misrepresentations described in Paragraph 33.b. above because such misrepresentations have
served to perpetuate defendants’ continuing infringement of Mr. Giambarba's work and have
served to delay Mr. Giambarba's obtaining from the defendants the relief to which he is entitled.

35. Some or all of defendants’ violations of M.G.L. c.93A §2 have been willful or
knowing violations.

Prayer for Relief

WHEREFORE, plaintiff demands that:

1. Defendants, and those in active concert or participation with them, be
preliminarily and permanently enjoined from infringing plaintiff's copyright;

2. Defendants be ordered to take such affirmative measures as are appropriate to
correct and redress their past infringement of plaintiff's copyright;

3. Defendants be required to account for and to pay plaintiff all profits derived by
defendants from their acts of infringement;

4, In addition to such profits, defendants be required to pay plaintiff such damages
as plaintiff has sustained as a result of defendants’ acts of infringement;

5. In the alternative to 3 and 4 above, and if plaintiff so elects, defendants be
required to pay statutory damages to plaintiff pursuant to 17 U.S.C. §§ 412, 504(c)(1) and

504(c)(2) and reasonable attorney's fees pursuant to 17 U.S.C. § 505;

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6. Defendants be preliminarily and permanently enjoined from making false or
misleading designations of the authorship of Beacons of Light: Lighthouses;

7. Defendants be ordered to take such affirmative measures as are appropriate to
correct and redress their past false and misleading designations of the authorship of Beacons of
Light: Lighthouses;

8. Defendants be required to pay plaintiff such profits as defendants have derived
and/or such damages as plaintiff has sustained as a result of defendants' false and misleading

designation of the authorship of Beacons of Light: Lighthouses;

9. Defendants be required to pay plaintiff damages on account of their violation of
M.G.L. ¢.93A §2;

10. Defendants be required to pay plaintiff his costs, reasonable attorney's fees, and
treble damages pursuant to 15 U.S.C. §11 17(a) and M.G.L. ¢.93A § 11; and

11.‘ Plaintiff have such other and further relief as the Court may deem appropriate.

DEMAND FOR JURY TRIAL

Plaintiff demands trial by jury of all issues so triable.

Dated: October 18, 2002

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‘ “ poN

MLM: VY ee C

David J. Fine, BBO #165120

Law Offices of David J. Fine

3 Center Plaza, Suite 400

Boston, MA 02108-2003

(617) 720-2941

Attorney for Plaintiff

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Certificate of Service

I hereby certify that I have this day served the foregoing by causing true copies thereof to
be sent by telecopier and mail, first class postage prepaid, to defendants’ counsel Dori Ann
Hanswirth, Hogan & Hartson LLP, 875 Third Avenue, New York, NY 10022 and Elizabeth A.
Ritvo, Brown Rudnick Berlack Israels, LLP, One Financial Center, Boston, MA 02111.

Dated: October 18, 2002

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David J. Fine “

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Broadcasting System, 94 F.R.D. 292, 294 (S.D.N.Y.1982).

In accordance with the above, Plaintiff respectfully alleges

as follows:

Jurisdiction

Jurisdiction is conferred by 28 U.S.C. 1331, as this action
arises under the laws of the United States. Jurisdiction is
further conferred by 28 U.S.C. 1343(a) (4) as this action is
brought to recover damages or to secure equitable or other
relief under an Act of Congress providing for the protection

of civil rights.

Parties
The Plaintiff, R. Messac (“Messac”), is a resident of the
Commonwealth of Massachusetts, Middlesex County.
The Defendant, Commonwealth of Massachusetts, Department of
Mental Retardation, Walter E. Fernald Developmental Center
(hereinafter “DMR” or “Fernald”), is a residential treatment
facility for mentally retarded adults located in Waltham,
Massachusetts.
The Defendants, Benison and Morrissey, are sued herein only
in their Official capacities as above captioned, and only

under Count I herein.

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Facts
Messac is a black American, her country of national origin
is Haiti, and she resides in the Commonwealth of
Massachusetts, Middlesex County.
In January, 2001, Messac, with the aid of undersigned
counsel, won a Jury trial in federal court, Boston,
Massachusetts, No, 98-10297-RGS as against the DMR.
The Jury held that an illegal racially hostile environment
had existed at the Fernald for years continuing into 1997.
The exclusive theory upon which Messac’s victory was based

was Title VII to the 1964 Civil Rights Act, 42 U.S.C. 2000e,

Messac was there awarded thirty-five thousand dollars
($35,000.00) as and for emotional distress by the Jury.

The District Court thereafter approved attorney’s fees in
the amount of Thirty-Seven Thousand One Hundred Twenty
Dollars ($37,120.00), then issuing an Order to that effect.
A not insubstantial portion of the evidence which the Jury
heard at trial was that other blacks and/or those of Haitian
national origin who were employed at the Fernald School had,
similar to Messac, for years been treated in a hostile and
discriminatory manner by white management on account of
their race, color, and/or national origin.

Evidence was similarly presented at the trial that some of

those same victims who were systematically discriminated

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against were also retaliated against whenever they made
complaints to white Fernald management as to illegal
discrimination.

Evidence was similarly presented at the trail that upwards
of One Hundred Fifty (150) Black and/or Haitian national
origin Fernald staff had stagged a protest march from
Waltham to the Massachusetts Statehouse in Boston in June
1997,

The March was entitled “End Racism at the Fernald”, and it
received substantial media coverage at that time.

Trial Exhibit 17, Exhibit “A” attached hereto, is a redacted
version of the so called “Romney Report”, which was
presented to the Jury in its redacted form.

The Report had substantially sugar coated the fact that
there were longstanding systemic racial inequities and
problems at the Fernald, and it otherwise went to great
lengths to avoid any racially charged conclusions which
could be used as against the School, and the Report
otherwise lacked objectivity due to the over application of
political correctness to its conclusions.

The Report had been commissioned and paid for by the DMR
itself in a knee jerk response to the above March which had
brought, temporarily at least, political and media pressure

to bear on the School. See Exhibit “BY” hereto.

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Despite its obvious bias and flaws, the said Report
nonetheless still indicated that racial “insensitivity” had
been for years and continued to then be a problem at the
Fernald.

At all times, and including at trial and on “Appeal”, the
School was represented by the civil division of the
Commonwealth of Massachusetts, Office of the Attorney
General, at the expense of the taxpayers of the Commonwealth
of Massachusetts.

The Defendant, Fernald, then filed and lost its Post Trial
Motion to have the Verdict overturned.

Within the said Motion, the AG’s Office, then acting as
Authorized binding Agents of the DMR, had materially
misrepresented the trial record to the Court, and this fact
was pointed out by the Court in its said Order Denying the
Motion.

After the said Denial, and no earlier than on the last
theoretically possible day to Appeal, the DMR, through the
Attorney General’s Office, then filed a groundless Appeal so
as to forestall payment of the judgment and the fees.

After a solid year of continued delays begged of the Circuit
Court by the Defendant, the said Appeal was thereafter
“withdrawn” by the DMR in May 2002,

The DMR through the AG’s Office had previously represented

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to the Court in May 2001 in writing that “the Commonwealth
is willing and able to pay the subject judgment when and if
it is affirmed by the First Circuit Court of Appeals”.

This express representation was made within the Defendant's
then Motion for a Stay (of the execution and payment of
attorney’s fees).

When pressed by the undersigned to finally pay up in May
2002, the DMR then claimed that it had not the money to pay,
despite the above said prior representation to the Court.
The DMR, rather than pay out of its own budget, then
requested through the Defendant, Comptrollers Office, that
payment be made from the so called “Settlement and Judgments
Fund”.

In so doing, the DMR submitted to the Comptroller’s Office
Exhibit “C” attached hereto.

Based upon representations made within Exhibit “C”, the
Legislature then appropriated the money, and the same was
included within the so called “Supplemental Budget”, Chapter
300 of the Acts of 2002, which was signed by the Governor on
August 30, 2002.

Title VII of the 1964 Civil Rights Act requires that true
and accurate records of the existence of unlawful employment
practices (including precisely those which the Jury found to

exist in the above mentioned Messac trial) be accurately

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created and maintained by the Employer, (in this instance)

the Commonwealth. See 42 U.S.C. 2000e ~- 8(c); see also

United States of America v. State of New Hampshire, 539 F.2d

277 (1st.Cir.1976), a copy of which is attached hereto as
Exhibit “D”.

The Public Interests at large, including Messac’s interests
as a Public Citizen, similarly command that a Public entity

such as the Commonwealth not misrepresent the nature of the

above said CIVIL RIGHTS violation in any respect in any

Public Record, let alone in one which is specifically used
to obtain appropriations from the Legislative arm of the
Government to pay its monetary obligations caused by its
violation of federal civil rights laws.

Notwithstanding the above, Exhibit “C” is an overt
misrepresentation of the nature of the loss in the Messac
matter.

The Messac case could only, as a matter of law, be
classified as a CIVIL RIGHTS case, not a “personnel” matter
as so indicated in Exhibit “C”, because Title VII TO THE

1964 CIVIL RIGHTS ACT was the only theory even plead

therein.
The DMR and the Official Capacity Defendants, directly and
impliedly, have now taken the basis devoid position that the

above mentioned case was not “CIVIL RIGHTS” and that it was

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therefore legitimized in so masking the nature of the loss
(and, consequentially, the hiding of the nature of the state
of racism at the Fernald).

The above positions taken by all Defendants, amount to an
aiding and abetting of each other’s intentional mis-
categorization of the nature of the loss in a Public record.
The above position taken by the Authorized Agent of the
Defendants’ herein, the Attorney General of this State,
clearly create a conflict of interest, and is otherwise
wholly inconsistent with the Attorney General’s statutory
and ethical obligation to prosecute racism wherever and
whenever it uncovers the same, and with its ethical, moral,
and legal obligation to insure that all Public Records in
this Commonwealth, particularly those unlawful employment
practices detailed under Title VII herein, are duly recorded
and preserved as true and accurate.

The complete unreasonableness and utter lack of credibility
of the above said “position” taken by the Parties hereto, as
a matter of law, allows an inference of pretext as to the
real motive of the Parties in so misrepresenting the nature
of the loss.

The above said pretext in turn allows a permissible
inference that the Official Capacity Defendants, and the DMR

under Title VII (Count II), possess an invidiously

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discriminatory animus generally as against blacks /
Haitians, against those who testify against the Commonwealth
as to racism, and as against Messac specifically in these
Same regards, whereby they willingly risk the potential
obstruction of justice which the said misinformation in the
State’s Public Records may well cause in the future.

Namely, since evidence of the DMR’s prior civil rights
record is relevant to liability, as it was in the above
detailed trial, in any future race based action against it
the disinformation thus created as above could potentially
allow the Defendants to answer “no” to interrogatories or
Deposition testimony directed to them inquiring as to
whether they have any “civil rights” verdicts against them.
The above pretext created by the DMR’s baseless delays and
other above efforts to avoid payment, by its authorized
misinformation to the Court in post trial filings, and by
its position as above mis-characterizing the nature of the
lawsuit, all allow a permissible inference that any and all
of the Defendant’s motive was to retaliate against Messac
for her filing the case, her testifying therein, and for her
embarrassing the Commonwealth in federal court as she did by
proving that racism is prevalent within the DMR / Fernald,
arms of the Commonwealth.

The act of illegally hiding the nature of a civil rights

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defeat is, as a matter of law, an act of racism, because the
Same encourages further racism by intentionally obliterating
any potential deterrent effect which publication of the
CIVIL RIGHTS nature of the judgment may have otherwise had
as against the Management at the DMR who knowingly allowed
the racism to fester in the first place.

The Comptroller’s Office had actual knowledge that Exhibit
“C” was fraudulent when submitted to it by the DMR, because
it had previously acknowledged in Exhibit “E”, through its
own “General Counsel” no less, the truism that the payment
was for a Title VII CIVIL RIGHTS VIOLATION, id., yet it
later supported its request for payment with a document it
knew to be completely false.

The above conduct is an affront to the Public Interest at
large and has damaged Messac in her individual capacity as
well, as she too is a member of the Public, and she has
otherwise been individually damaged emotionally and through
denying her the recognition she deserves, in Public Records
and otherwise, for finally successfully exposing racist
practices of the Commonwealth at the DMR / Fernald, and the
continuance to this day of hiding the truth from the Public
citizens of this Commonwealth and from giving Messac her
accurate just deserts in the public record, is a continuing

violation of Title VII because the same is the exact

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opposition of the swift remedial action required under Title
VII once it is clear that an unlawful employment practice
has occurred.

As a Public citizen of this Commonwealth, Messac has
standing in her own right to allow the Court to Order the
Commonwealth to correct this misrepresentation of the Public
Record, and to further Enjoin this practice in the future,
and to further pursue whether this practice of mis-
characterizing its civil rights losses has occurred in other
situations whether or not in specific violation of 42 U.S.C.

2000e ~- 8(c) as above.

COUNT I

Mandatory Prospective Injunctive Relief, 42 U.S.C. 1983.

Official Capacity Defendants
Messac adopts by reference all above allegations, and
further alleges:
Defendants were acting under color of State law.
Defendants conspired to deprive Messac of the equal
protection of the laws.
Defendants conspired to retaliate as against Messac for her
assertion of speech on matters of Public concern as against
the Commonwealth at her trial and otherwise as set forth
herein.

Defendants conspired to prevent Public access to the fact

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that the Commonwealth, and the DMR has been held in
violation of federal civil rights laws.

Defendants’ conduct as above has deprived Messac and the
Public Citizens of this Commonwealth of their unquestioned
right to free access to accurate information clearly of
their concern as both voting taxpayers who have footed the
bill for the racist conduct of the DMR which caused the
verdict in the first place, and as Citizens of this
Commonwealth who otherwise have an unequivocal right to see
how it is that their government spends the tax revenues that

they pay.

WHEREFORE, the Plaintiff, R. Messac, requests that:

A)

this Court Order that the Public Record be corrected to
reflect the true nature of the reason for payment as above
in the Messac action;

this Court permanently enjoin the Official Capacity
Defendants from any future acts of misrepresenting the
nature of Civil Rights trial losses by Agencies of this
Commonwealth;

this Court Order the Defendant, Comptroller, to produce all
records of payments for judgments over the last ten years
(including all so called “Requests for Payment” forms as

detailed above) within thirty days hereof, and, for each

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such judgment, to state the precise nature of the same and
the theories upon which each judgment was based;

this Court Order the Official Capacity Defendants to produce
all records of unlawful employment practices pursuant to 42
U.S.C. 2000e - 8(c) over the last ten years for which
payment has been requested from the Legislature, and

Order such other relief as it deems fit, including attorneys

fees.

COUNT ITI
Title VII Of the 1964 Federal Civil Rights Act
42 U.S.C. 2000e, as Amended.

Messac adopts by reference all above allegations, and
further alleges:

All conditions precedent regarding this Count have been
complied with, this action having grown out of the prior
filing before the EEOC of Messac.

The above described acts as against Messac were in reprisal
for her protected activities, including the filing of her
lawsuit, her testifying therein, and for winning the

lawsuit.

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WHEREFORE, the Plaintiff, R. Messac, demands judgment against the
Defendant, The Commonwealth of Massachusetts, Department of
Mental Retardation, Fernald Developmental Center, in an amount
which fairly and reasonably compensates her for her damages,
together with interest, reasonable attorney's fees, and the costs

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THE PLAINTIFF DEMANDS A TRIAL BY Jury UPON arn Zounts

of this action.

Respectfully submitted,
R. Messac
By her attorneys,

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atom was served upon al pro se Matthdw Cobb, BBO NO. 556677
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